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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

GARY ALAN SHOUPE,

               Plaintiff,

v.                                                         No. CV 20-503 BRB/CG

UNITED STATES OF AMERICA,

               Defendant.


     ORDER RESETTING TELEPHONIC PRE-SETTLEMENT STATUS CONFERENCE

        THIS MATTER is before the Court after conferring with counsel. IT IS HEREBY

ORDERED that the previously scheduled telephonic pre-settlement status conference

set for Monday, March 8, 2021, is RESET for Monday, April 12, 2021, at 2:00 p.m.

The parties shall call Judge Garza’s AT&T Teleconference line at (877) 810-9415,

follow the prompts, and enter the Access Code 7467959, to be connected to the

proceedings.

        IT IS SO ORDERED.




                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
